 Case 2:19-cr-00380-VAP Document 906 Filed 06/22/21 Page 1 of 1 Page ID #:4197



                                                                     CC: USPO
1
2                       UNITED STATES DISTRICT COURT
3
4                      CENTRAL DISTRICT OF CALIFORNIA
5
6
     UNITED STATES OF AMERICA,                Case No. CR 19-380-VAP-1
7
                 Plaintiff,                   ORDER CONTINUING
8                                             SENTENCING OF DEFENDANT
           v.                                 VALENTINE IRO
9
     VALENTINE IRO (1),
10
                 Defendant.
11
12
     GOOD CAUSE HAVING BEEN SHOWN, and pursuant to the stipulation
13
     of the parties:
14
           The sentencing hearing of defendant Valentine Iro is continued to
15
     April 25, 2022, at 9:00 am.
16
     IT IS SO ORDERED
17
18
     DATED: June 22, 2021
19
20
21                                  By
                                         HONORABLE VIRGINIA A. PHILLIPS
22                                       United States District Judge
23
24
25
26
27
28
